Case 5:21-cr-00009-LGW-BWC      Document 231     Filed 12/17/21    Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            WAYCROSS DIVISION

UNITED STATES OF AMERICA              )
                                      )
            v.                        )     CASE NO.
                                      )     5:21-cr-00009-LGW-BWC-4
                                      )
                                      )
ANTONIO CHAVEZ RAMOS                  )
a/k/a Tony Chavez                     )

   DEFENDANT’S RESPONSE TO MOTION FOR ORDER ALLOWING THE
 GOVERNMENT TO MAINTAIN CUSTODY OF SEIZED PROPERTY PURSUANT
              TO 18 U.S.C. 983(A)(3)(B)(ii)(II)

     COMES NOW, Antonio Chavez Ramos, and hereby files this

response    to    Government’s    Motion    to    Maintain      Custody      of

Seized Property (See ECF Doc. No. 98).

  1. After careful review of Bill of Particulars (See EFC

     Doc.    No.    96),   Defendant      has    no    objection       to   the

     Government’s      motion    to    maintain       custody     of    seized

     property.

  Respectfully submitted this 17 th day of December 2021



                                /s/ Jessica K. Stern
                                JESSICA K. STERN
                                Georgia State Bar No. 107308
                                ATTORNEY FOR ANTONIO CHAVEZ RAMOS

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Case 5:21-cr-00009-LGW-BWC   Document 231   Filed 12/17/21   Page 2 of 2




                     CERTIFICATE OF SERVICE

     This is to certify that I have this day served the

foregoing filing into this District’s ECF System, which

will automatically forward a copy to all counsel of record

in this matter.


     This the 17th day of December, 2021.



                             /s/ Jessica K. Stern
                             JESSICA K. STERN
                             Georgia State Bar No. 107308
                             ATTORNEY FOR ANTONIO CHAVEZ RAMOS


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